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                                                               x


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 9                        UNITED STATES DISTRICT COURT

10                               DISTRICT OF NEVADA
11

12
     SAGE HUMPHRIES, GINA MENICHINO,         CASE: 2:21-CV-01412-ART-EJY
13   ROSEMARIE DEANGELO, DANIELLE
     GUTIERREZ, JANE DOE 1 AND JANE
14   DOE 2
                                             DEFENDANTS’ EMERGENCY
15                 PLAINTIFFS,               MOTION TO CONTINUE JUNE 26, 2025
16   V.                                      HEARING ON MOTIONS FOR
                                             SUMMARY JUDGMENT
17
     MITCHELL TAYLOR BUTTON AND
18   DUSTY BUTTON
19

20                 DEFENDANTS

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28    DEFENDANTS’ EMERGNCY MOTION TO CONTINUE JUNE 26, 2025 HEARING ON
                     MOTIONS FOR SUMMARY JDUGMENT
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 1          Defendants respectfully move for a short continuance of the hearing currently
 2   scheduled for June 26, 2025, on the pending Cross Motions for Summary Judgment. Good
 3
     cause exists for this request based on a convergence of serious medical crises and caregiving
 4
     constraints affecting the Defendants’ immediate family, as described below.
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 6
            Defendants conferred with opposing counsel and their position states that “Plaintiffs'
 7
     counsel is available any day in July or August, other than July 7-11, July 14, or August 1.”
 8
     Defendants also note that they are not available on August 7th or 8th.
 9

10
            I.      GOOD CAUSE FOR CONTINUANCE
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12          This request is based on time-sensitive, extraordinary circumstances beyond
13   Defendants’ control, specifically:
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15      1. Defendant Dusty Button’s father, is undergoing aggressive chemotherapy for

16          cancer and is nearing the final stage of a critical treatment cycle. His next major scan
17          is scheduled for June 25, 2025, just one day before the scheduled hearing with a
18
            follow up on the 26th of July during the time of the hearing. The results of this scan are
19
            expected to determine the viability of future treatment and whether palliative care or
20
            continued intervention is appropriate. His prognosis remains uncertain.
21
22      2. Mr. Button is unable to transport himself or manage basic medical coordination.

23          Defendants are the sole caregivers, and the emotional and physical demands of this

24          have increased sharply as treatment has progressed.
25
        3. Simultaneously, Laura Button, Dusty’s mother, recently suffered a fractured
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            patella and is temporarily immobilized, unable to bear weight or drive. She has
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28    DEFENDANTS’ EMERGNCY MOTION TO CONTINUE JUNE 26, 2025 HEARING ON
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 1            historically provided the only family-based childcare for Defendants’ infant child, but
 2            is currently incapacitated and in recovery.
 3
         4. Defendants are now faced with a complete breakdown of family caregiving
 4
              infrastructure, with no available childcare and no ability to afford paid assistance.
 5
              The inability to secure reliable care has made travel and uninterrupted legal
 6
 7            preparation logistically impossible.

 8       5. Defendants are not requesting indefinite relief. They are simply asking for a modest

 9            extension—into late July or August (at the Court’s discretion)—to allow for
10
              stabilization of their family situation and fulfillment of their litigation obligations.
11
12            II.     OPPOSITION FROM COUNSEL AND CASE CONTEXT
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14            Defendants further note that any extensions referenced by opposing counsel in other

15   related cases were also based on these same caregiving and medical hardships. Those requests

16   were made transparently, supported by documentation when necessary, and never for
17   purposes of delay or in bad faith. The Buttons have made every effort to comply with
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     deadlines and only sought accommodations when extraordinary personal circumstances
19
     required it.
20
21            Defendants advised opposing counsel of these circumstances on June 11, 2025, and
22
     sought a brief stipulation. Counsel declined, citing the age of the case and a desire to avoid
23
     delay.
24
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              Despite the deeply personal nature of these medical events, Defendants notified
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     opposing counsel in good faith. Counsel responded: “Given Defendants’ representation that
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28    DEFENDANTS’ EMERGNCY MOTION TO CONTINUE JUNE 26, 2025 HEARING ON
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 1   Mrs. Buttons' father is scheduled to receive treatment "during the time of" the June 26
 2   hearing, Plaintiffs consent to a brief adjournment. Plaintiffs do not, however, consent to an
 3
     indefinite delay, and respectfully request that the Court reschedule the hearing at its earliest
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     convenience in July or August 2025. Plaintiffs' counsel is available any day in July or August,
 5
     other than July 7-11, July 14, or August 1. This matter has been pending for over four years,
 6
 7   and Plaintiffs are eager to bring this case to final resolution. We will note for the record that

 8   Defendants informed the clerk of court that they were available for the June 26 hearing over

 9   two months ago, on April 9, 2025, which should have allowed ample opportunity to make any
10
     transportation or child-care arrangements for their family, particularly since Defendants have
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     already been given permission to appear at the hearing via Zoom. Plaintiffs also note that they
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     have already stipulated to nine of Defendants’ requests for extensions in this case. [ECF Nos.
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     14, 33, 41, 65, 144, 280, 302, 369, 413]. Plaintiffs’ counsel have also stipulated to all seven of
14
15   Defendants’ requests for extensions in the related cases that the Buttons filed, all based on

16   similar representations about medical issues. [See Button et al v. McCawley, 24-cv-60911-
17   DSL, ECF Nos. 18, 26, 31, 34, 51; Dusty Button et al v. Micah Humphries et al, 24-cv-
18
     01730-JVS-DFM, ECF Nos. 59, 77]. While Plaintiffs sympathize with Defendants’ family's
19
     medical situation, given the already extensive delays in this case and others, Plaintiffs are
20
     disinclined to consent to further extension requests absent extraordinary circumstances”.
21
22
            Plaintiffs will suffer no prejudice if the hearing is continued. Their motion is fully
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     briefed and would remain ripe for decision after a brief delay. Defendants also represent that
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     this is an extraordinary circumstance and would otherwise not burden this Court with this
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26   request.

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 1            This Court is well aware that opposing counsel also represents other defendants in
 2   related actions filed by the Buttons, including Button et al v. Micah Humphries1; Button et al
 3
     v. McCawley2, Button et al v. the New York Times3, Button et al v. Doherty4 and Button v.
 4
     Humphries5. Defendants have consistently complied with deadlines across forums and now
 5
     seek a one-time accommodation of continuance of this hearing due to an acute and
 6
 7   unanticipated medical crisis. The balance of equities here weighs heavily in favor of a short

 8   continuance: denial would create severe and unjustifiable hardship for the Buttons while

 9   benefitting no party and delaying no proceeding materially.
10
11            III.   REQUESTED RELIEF

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          Defendants respectfully request that the Court:
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14
          •   Continue the hearing currently scheduled for June 26, 2025, on Cross Motions for
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              Summary Judgment;
16
          •   Reschedule the hearing for a date in late July, or August at the Court’s discretion;
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18        •   Continue to Permit Zoom appearance for the Defendants at the time of the hearing.

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              IV.    CONCLUSION
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21            This request is made in good faith, not for delay, and is supported by verified, time-
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     sensitive medical needs affecting multiple immediate family members. A brief continuance
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     1
       8:24-cv-01730-JVS-DFM in the Southern District Court of California.
     2
25     0:24-cv-60911-DSL in the Southern District Court of Florida
     3
       1:24-cv-05888-MKV in the Southern District Court of New York
     4
26     1:24-cv-05026-JPC-KHP in the Southern District Court of New York
     5
       2023-P-1202 in the Massachusetts Appeals Court and No.FAR-30336 in the Supreme Judicial Court of
27   Massachusetts
                                      5
28       DEFENDANTS’ EMERGNCY MOTION TO CONTINUE JUNE 26, 2025 HEARING ON
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 1   will allow for the stabilization of Defendants’ obligations and ensure meaningful participation
 2   in this critical hearing.
 3
 4
 5                                 Respectfully dated this 16th day of June, 2025,
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                                   _______________________________________
 8
                                   Mitchell Taylor Button and Dusty Button (Pro se)
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 1                               CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that the foregoing document was filed with
 3
     LV_public_docketing@nvdcourts.gov on June 16th, 2025 and served on all parties via email.
 4
 5
 6
 7
 8                              Dated this 16th day of June, 2025,

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                                               ___________________________________
11
                                               Mitchell Taylor Button and Dusty Button
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                                               (Pro se)
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28   DEFENDANTS’ EMERGNCY MOTION TO CONTINUE JUNE 26, 2025 HEARING ON
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